     Case 2:13-cr-00096-RHW            ECF No. 1087        filed 07/15/16      PageID.3711 Page 1 of 2
 PROB 12C                                                                              Report Date: July 14, 2016
(6/16)

                                       United States District Court

                                                      for the

                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Steven Edwin Bronowski                  Case Number: 0980 2:13CR00096-RHW-9
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Robert H. Whaley, Senior U.S. District Judge
 Date of Original Sentence: October 24, 2013
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349
 Original Sentence:       Prison - 6 months;               Type of Supervision: Supervised Release
                          TSR - 60 months
 Revocation
 Sentence:                Prison - 12 months;
                          TSR - 48 months
 Revocation
 Sentence:                Prison - 7 months;
                          TSR - 41 months
 Asst. U.S. Attorney:     Aine Ahmed                       Date Supervision Commenced: October 2, 2015
 Defense Attorney:        Federal Public Defender          Date Supervision Expires: March 1, 2019


                                         PETITIONING THE COURT

                To incorporate the violation(s) contained in this petition in future proceedings with the
violation(s) previously reported to the Court on 12/22/2015, 12/29/2015, 06/17/2016, and 6/27/2016.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            7           Mandatory Condition # 2: The defendant shall not commit another Federal, state, or local
                        crime.

                        Supporting Evidence: On June 26, 2016, the U.S. Probation Office in Spokane received
                        notification from the Washington State Patrol that Mr. Bronowski’s name had been run by
                        the agency. A police report was requested on the contact, and on July 12, 2016, the U.S.
                        Probation Office received the completed report from the Washington State Patrol. According
                        to the police report and attached citation, on June 26, 2016, Mr. Bronowski was stopped by
                        the agency due to having a defective headlamp. Mr. Bronowski identified himself by a
                        “punched” Washington State driver’s license, and indicated to the officer that he did not
                        have a license and it was suspended. Mr. Bronowski was the lone occupant in the vehicle.
                        A subsequent Department of Licensing inquiry confirmed that Mr. Bronowski’s current
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                     driving status was suspended in the 3rd degree as of March 18, 2013.

                     Mr. Bronowski was cited for Driving While License Suspended in the 3rd Degree, in
                     violation of RCW 46.20.342.1C, a misdemeanor. According to court records the charge was
                     dismissed on July 5, 2016. It should be noted that the police report did indicate that Mr.
                     Bronowski was respectful and cooperative throughout the officer’s interaction with him.




                                       I declare under penalty of perjury that the foregoing is true and correct.
                                                         Executed on:     7/14/2016
                                                                          s/ Chris Heinen
                                                                          Chris Heinen
                                                                          U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [9 ]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the
          case.
 [9 ]     Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                          Signature of Judicial Officer

                                                                             +VMZ 
                                                                          Date
